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                                   No. 23-40653

              In the United States Court of Appeals
                      for the Fifth Circuit
  State of Texas; State of Alabama; State of Arkansas; State of Louisiana; State of
    Nebraska; State of South Carolina; State of West Virginia; State of Kansas;
                                State of Mississippi,
                                                              Plaintiffs – Appellees,
                                          v.
  United States of America; Alejandro Mayorkas, Secretary, U.S. Department of
  Homeland Security; Troy Miller, Senior Official Performing the Duties of the
 Commissioner, U.S. Customs & Border Protection; Patrick J. Lechleitner, Acting
 Director of U.S. Immigration & Customs Enforcement; Ur M. Jaddou, Director of
   U.S. Citizenship & Immigration Services; Jason D. Owens, Chief of the U.S.
                                 Border Patrol,
                                                        Defendants – Appellants,
María Rocha; José Magaña-Salgado; Nanci J. Palacios Godínez; Elly Marisol Estrada;
 Karina Ruíz De Díaz; Carlós Aguilar González; Luis A. Rafael; Darwin Velásquez;
 Jin Park; Óscar Álvarez; Denise Romero; Jung Woo Kim; Ángel Silva; Hyo-Won
     Jeon; Elízabeth Díaz; Blanca González; Moses Kamau Chege; María Díaz,
                                             Intervenor Defendants – Appellants,
                                State of New Jersey,
                                                               Intervenor – Appellant.

                   On Appeal from the United States District Court
              for the Southern District of Texas, Brownsville Division

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                  CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

Court may evaluate possible disqualification or recusal.

Plaintiffs-Appellees

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State of Alabama

State of Arkansas

State of Kansas

State of Louisiana

State of Mississippi

State of Nebraska

State of South Carolina

State of West Virginia

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Defendants-Appellants

United States of America

Alejandro Mayorkas, Secretary, U.S. Department of Homeland Security
Troy Miller, Senior Official Performing the Duties of the Commissioner, U.S.
Customs & Border Protection
Patrick J. Lechleitner, Acting Director, U.S. Immigration and Customs Enforcement

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                                           /s/Nina Perales
                                           Nina Perales




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              STATEMENT REGARDING ORAL ARGUMENT

      Maria Rocha and the other Intervenor Defendants-Appellants respectfully

request oral argument. Oral argument in this case of national importance will help

illuminate the positions of the parties and aid the Court in reaching a decision.




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                                INTRODUCTION

      Despite the District Court’s holding to the contrary, this Court has not already

decided this case. For more than four years, the parties had been litigating the

“Memorandum,” the Department of Homeland Security’s June 2012 directive

regarding deferred action for childhood arrivals (“DACA”). ROA.18762-18764.

Then, in August 2022, DHS promulgated the “Rule.” ROA.25785. The Rule is not

the Memorandum: It explicitly directs immigration officials to use case-by-case

discretion at multiple points during individualized DACA adjudications, and it

applies to a narrower population with even stronger ties to the United States. This

Court explicitly declined to review the Rule in October 2022, and it remanded to the

District Court to consider the Rule afresh. See Texas v. United States (“Texas

(Memo)”), 50 F.4th 498, 512 (5th Cir. 2022).

      In the meantime, the law has changed to favor Intervenor-Appellants. In

United States v. Texas (“Immigration Priorities”), 599 U.S. 670 (2023), and

Haaland v. Brackeen, 599 U.S. 255 (2023), the Supreme Court reined in the

extravagant theories of state standing the Appellees had previously invoked. And in

Garland v. Aleman Gonzalez, 596 U.S. 543 (2022), which had not previously been

fully briefed or argued before this Court, the Supreme Court held that 8 U.S.C.

§ 1252(f)(1) means what it says: lower courts lack jurisdiction to enjoin or restrain




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the executive agencies’ enforcement or implementation of relevant provisions of the

Immigration and Nationality Act (“INA”).

      Because of those changes in the law and the facts, the District Court had an

obligation to ensure that Appellees had standing to challenge the Rule; to evaluate

whether the Rule complies with the INA; and to assure itself of jurisdiction to grant

Appellees’ requested relief. But the District Court did not engage in the analysis

required by Immigration Priorities and Haaland, and it granted Appellees’ request

for a universal vacatur and nationwide injunction without addressing its jurisdiction

or the equities. Texas v. United States (“Texas (Rule)”), — F. Supp. 3d —, 2023

WL 5951196, at *24 (S.D. Tex. Sept. 13, 2023). In doing so, the District Court

failed to fully consider the reliance interests of hundreds of thousands of DACA

recipients who “know only this country as home.” ROA.18762.

      The District Court erred. Appellees lack standing to challenge the lawful

Rule, and the District Court lacked jurisdiction and justification to vacate or enjoin

it. Intervenor-Appellants respectfully request that this Court vacate the District

Court’s Order and remand to the District Court for further proceedings. If this Court

instead affirms, it should maintain the present stay pending any further appellate

review.




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                       STATEMENT OF JURISDICTION

      The State of Texas and other Appellees 1 brought a complaint on May 1, 2018,

alleging violations of the Administrative Procedures Act (“APA”) and the Take Care

Clause of the Constitution. ROA.156. On July 16, 2021, the District Court entered

a Memorandum and Order on the parties’ competing motions for summary

judgment. See Texas (Memo), 549 F. Supp. 3d 572 (S.D. Tex. 2021) (summary

judgment decision); 2021 WL 3022434 (order). On October 5, 2022, this Court

affirmed in part and remanded to the District Court with instructions to assess the

Rule. Texas (Memo), 50 F.4th 498 (5th Cir. 2022). Appellees filed a Supplemental

Complaint as to the Rule on January 3, 2023, alleging identical violations of the

APA and the Take Care Clause. ROA.33371. Appellees invoked the District

Court’s subject-matter jurisdiction under 28 U.S.C. §§ 1331, 1346(a)(2), and 1361.

ROA.33382. For the reasons discussed below, however, Appellees lack Article III

standing as to the Rule, and the District Court lacked jurisdiction to review

Appellees’ claims. Under 8 U.S.C. § 1252(f)(1), the District Court also lacked

authority to “enjoin or restrain” the Rule.

      The District Court granted Appellees’ motion for summary judgment, denied

the Intervenor-Appellants’ cross-motion for summary judgment, and entered a



1
 Plaintiff-Appellees comprise the States of Texas, Alabama, Arkansas, Louisiana,
Nebraska, South Carolina, West Virginia, Kansas, and Mississippi. ROA.33371.
                                          3
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Memorandum and Order and Supplemental Order of Injunction on September 13,

2023. Texas (Rule), 2023 WL 5951196 (summary judgment decision); 2023 WL

5950808 (order). Intervenor-Appellants filed a timely notice of appeal on November

9, 2023. ROA.36414. This Court has appellate jurisdiction under 28 U.S.C.

§ 1292(a)(1), but this Court, like the District Court, lacks authority to “enjoin or

restrain” the Rule under 8 U.S.C. § 1252(f)(1).

           STATEMENT OF ISSUES PRESENTED FOR REVIEW
1.    Whether the District Court erred in denying Intervenor-Appellants’ motion

      for summary judgment as to standing to challenge the Rule and granting

      Appellees’ cross-motion when Appellees set forth no specific facts

      demonstrating an actual injury-in-fact caused by the Rule and redressable by

      its termination; when “federal courts are generally not the proper forum for

      resolving claims that the Executive Branch should make more arrests or bring

      more prosecutions,” Immigration Priorities, 599 U.S. at 680; and when the

      portions of the administrative record highlighted by the District Court showed

      that, at the very least, “reasonable minds could differ,” Anderson v. Liberty

      Lobby, Inc., 477 U.S. 242, 250-51 (1986), regarding whether Appellees

      demonstrated standing.

2.    Whether the Rule, which was promulgated through notice-and-comment

      rulemaking, which explicitly requires DHS to exercise individualized


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      discretion, which is consistent with previous exercises of prosecutorial

      discretion, and which narrows the population eligible for an exercise of

      discretion, violates the APA or the INA, which authorizes DHS to exercise

      enforcement discretion.

3.    Whether Section 1252(f)(1) of the INA, which strips lower courts of

      jurisdiction to “enjoin or restrain” the Executive’s implementation of relevant

      portions of the INA, prohibited the District Court from vacating the Rule and

      enjoining it nationwide—an overbroad remedy that failed adequately to weigh

      Appellees’ speculative theories of harm against the real and profound damage

      that the Rule’s rescission would cause DACA recipients, their families, and

      their communities.

                           STATEMENT OF THE CASE

      A.     The History of Deferred Action in the Immigration Context.
      The INA empowers the DHS Secretary (the “Secretary”) with broad

discretion to “administ[er] and enforce[] . . . all [ ] laws relating to [ ] immigration

and naturalization,” 8 U.S.C. § 1103(a)(1), to “[e]stablish[] national immigration

enforcement policies and priorities,” 6 U.S.C. § 202(5), to “determine[]” which

immigrants are “lawfully present in the United States,” 8 U.S.C. § 1611(b)(2), to

determine which immigrants are “authorized to be [ ] employed,” 8 U.S.C.

§ 1324a(h)(3), and further authorizes the Attorney General to parole into the United


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States “any [immigrant] applying for admission” in the Attorney General’s

“discretion.” 8 U.S.C. § 1182(d)(5)(A). Congress’s statutory command that the

Secretary and Attorney General exercise discretion in these respects is also a

practical necessity, as Congress has allocated to DHS resources to remove or return

just under four percent of the immigrants potentially subject to removal each year.

See ROA.18238, 19485-19491.

      In the exercise of that discretion, the Secretary has frequently relied on

“deferred action.” Deferred action is “an exercise of the Secretary’s broad authority

to establish national immigration enforcement policies and priorities,” and is “a form

of enforcement discretion not to pursue [ ] removal . . . for a limited period in the

interest of ordering enforcement priorities in light of limitations on available

resources, taking into account humanitarian considerations and administrative

convenience.” Deferred Action for Childhood Arrivals, 87 Fed. Reg. 53152, 53298

(August 30, 2022) (to be codified at 8 C.F.R. pts. 106, 236, 274a). For over 50 years,

the Secretary and the Secretary’s statutory predecessors have granted discretionary

relief from removal to both individuals and various classes of non-U.S. citizens

through deferred action. See, e.g., Regents of the Univ. of Cal. v. U.S. Dep’t of

Homeland Sec. (“Regents”), 279 F. Supp. 3d 1011, 1019-22 (N.D. Cal. 2018), aff’d,

908 F.3d 476 (9th Cir. 2018), rev’d in part, vacated in part, 140 S. Ct. 1891 (2020)

(describing programs since 1975). Through the Family Fairness Program, for


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example, the Immigration and Naturalization Service made available deferred action

and employment authorization to approximately 1.5 million people whom Congress

repeatedly failed to address through contemplated legislation. See ROA.593-594,

616, 618-620.

      B.    The Memorandum, DAPA, and the Rescission Cases.
      In 2012, the Secretary issued the Memorandum, which provided guidelines

for the exercise of discretion to grant deferred action to non-U.S. citizens who

arrived in the United States as children and who meet certain criteria. ROA.18762-

18764. In 2014, DHS announced a distinct policy, referred to as Deferred Action

for Parents of Americans (“DAPA”), which covered a potential group of up to 4

million parents of U.S. citizens and lawful residents. ROA.18262-18295, 33759-

33764.2 Almost immediately, a number of states challenged the legality of DAPA—

but not DACA—culminating in this Court affirming a ruling by the District Court

that the Secretary’s adoption of DAPA exceeded his authority. DAPA, 809 F.3d 134,

188 (5th Cir. 2015). The Supreme Court granted review but did not reach the merits.

DAPA, 579 U.S. 547, 548 (2016) (per curiam). In 2017, the Trump Administration



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  Although DAPA also made changes that would have expanded DACA, those
changes never went into effect because DAPA was enjoined. Texas v. United States
(“DAPA”), 86 F. Supp. 3d 591, 677-78 & n.111 (S.D. Tex. 2015), aff’d, 809 F.3d
134 (5th Cir. 2015), aff’d by an equally divided Court, 579 U.S. 547, 548 (2016).
DACA, however, was “not before the Court and [was] not addressed by [its]
opinion.” Id. at 606.
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attempted to rescind DACA, see ROA.18315-18323, but the Supreme Court held the

recission was arbitrary and capricious, see Regents, 140 S. Ct. 1891, 1916 (2020).

The Court emphasized that, before rescinding the Memorandum, DHS should have

considered the “noteworthy” reliance interests of DACA recipients, their families,

and their communities. Id. at 1914.

      C.     The Texas (Memo) Litigation.

      On May 1, 2018—nearly six years after the Secretary issued the DACA

Memorandum—Appellees filed suit in the District Court challenging, for the first

time, the Memorandum’s lawfulness. ROA.156. The next day, Appellees filed a

motion for a preliminary injunction, ROA.305, which the District Court denied after

limited discovery, citing Appellees’ six-year delay. See Texas (Memo), 328 F. Supp.

3d. 662, 738-40, 743 (S.D. Tex. 2018). The District Court also held that vacatur of

DACA on the then-existing record did “not make sense nor serve the best interests

of this country.” Id. at 742.

      The parties then proceeded to merits discovery. On February 4, 2019—before

discovery closed—Appellees filed a motion for summary judgment. ROA.15928.

Appellees filed a second summary judgment motion on October 9, 2020.

ROA.22391. On July 16, 2021, the District Court granted Appellees’ motion, denied

Intervenor-Appellants’ cross-motion, and issued a permanent injunction against the

enforcement of DACA. Texas (Memo), 549 F. Supp. 3d at 624. Although the


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District Court recognized that Intervenor-Appellants had presented “contrary

evidence in the record” creating a “fact issue” as to whether Appellees suffered

damages either directly or as parens patriae, see id. at 595-96, it held that Appellees

were entitled to special solicitude and thus had standing. Id. The District Court then

held that the Memorandum should have gone through notice-and-comment

rulemaking and thus violated the procedural requirements of the APA. Id. at 603.

The District Court also held that the Memorandum was contrary to the INA. Id. at

609-10. It ordered that enforcement of the Memorandum cease as to new applicants,

but it stayed its order with respect to current DACA recipients in recognition of the

“significant equitable interests” of the “[h]undreds of thousands of individual DACA

recipients, along with their employers, states, and loved ones.” Texas (Memo), 2021

WL 3022434, at *2.

      Intervenor-Appellants appealed, ROA.25337, and this Court affirmed in part.

Texas (Memo), 50 F.4th at 508. With respect to standing, this Court granted

Appellees special solicitude to challenge the Memorandum. With that special

solicitude, the Court was satisfied that Appellees had demonstrated concrete,

redressable injuries traceable to the Memorandum through indirect social services

expenditures. Id. at 519-20. Crucially, however, this Court went no further. Id. at

512 (“Today, we consider only the challenges to the 2012 DACA Memorandum.”).




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      On the merits, this Court first addressed whether the Memorandum complied

with the APA’s procedural requirements, id. at 524, an issue no longer relevant with

respect to the Rule, which was promulgated through notice-and-comment

rulemaking. This Court likewise affirmed the District Court’s holding on Appellees’

substantive APA challenge to the Memorandum’s lawfulness, id. at 524-28, but it

did not address Appellees’ Take Care Clause claim.

      Based only on Rule 28(j) letters, and without the benefit of full briefing or

argument, the Court also held that, despite the Supreme Court’s late-breaking

opinion in Aleman Gonzalez and the jurisdiction-stripping provisions in 8 U.S.C.

§ 1252(f)(1), the District Court retained authority to vacate and enjoin the

Memorandum. Id. at 529. And, although this Court affirmed the District Court’s

vacatur, injunction, and declaratory judgment as to the Memorandum, it left in place

the District Court’s stay pending appeal. Id. at 531. It did so because “DACA has

had profound significance to recipients, and many others in the ten years since its

adoption,” and because DACA’s termination would result in “inevitable disruption

. . . from a lack of continuity and stability.” Id. (cleaned up). With that, this Court

remanded to the District Court to “determine whether [its] holdings as to the 2012

Memorandum fully resolve issues concerning the Final Rule.” Id. at 512.




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      D.    The 2022 Rule.

      On September 28, 2021, DHS published a Notice of Proposed Rule Making

(“NPRM”) for the establishment of regulations related to “the Deferred Action for

Childhood Arrivals (DACA) policy” to “defer removal of certain noncitizens who

years earlier came to the United States as children, meet other criteria, and do not

present other circumstances that would warrant removal.” ROA.25591. Explicitly

responding to the District Court’s July 16, 2021, Order, DHS’s NPRM requested

public comment on features of the proposed rule, with emphasis on “forbearance

from enforcement action, employment authorization, and lawful presence.”

ROA.25618. The NPRM further noted, “DHS takes seriously the district court’s

suggestion that it may enact a forbearance-only policy, and that features of the

DACA policy may be modified through the rulemaking process.” Id. Section V of

the NPRM included an assessment of regulatory alternatives (including those with

and without a lawful presence component), as well as analyses of wages earned and

tax revenues from DACA recipients, the labor market impacts of the proposed rule,

and a discussion of reliance interests and potential effects of the proposed rule

identified by the District Court. See generally ROA.25627-25669.

      DHS received 16,361 public comments on the NPRM, and most commenters

expressed broad support. See ROA.25795. Texas was the only state to submit a

comment expressing any opposition. ROA.25805. DHS vetted the commenters’


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requests carefully.   It considered but rejected several proposals that the Rule

implement longer grant periods, citing the two-year grant period as “an appropriate

frequency for review and decision on whether to continue to favorably exercise

discretion in the form of deferred action.” ROA.25874. DHS also rejected several

comments calling for a “path to citizenship,” noting that DHS lacks “legal authority

to amend the rule to provide a direct procedure for a DACA recipient to attain

citizenship” consistent with DHS’s position that “the DACA policy represents an

exercise of enforcement discretion.” ROA.25814-25816. And DHS refused to vary

or expand the grounds for advance parole, emphasizing that DACA recipients, like

all non-U.S. citizens, are already eligible for advance parole for certain

“humanitarian, educational, or employment related reasons” under the INA.

ROA.25882.

      DHS also considered but ultimately rejected proposals to decouple work

authorization from deferred action.      A “policy of forbearance without work

authorization,” DHS reasoned, would, among other things, “disrupt the reliance

interests of hundreds of thousands of people, as well as the families, employers,

schools, and communities that rely on them” and result in “adverse fiscal

implications” for Federal, state, and local governments “due to reduced tax

revenues.” ROA.25889, 25926 (cleaned up). DHS recognized that the District

Court believed that “DHS lacked authority to provide employment authorization and


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benefits such as Social Security benefits to DACA recipients,” ROA.25926, but

DHS noted that even the District Court acknowledged that “‘the individualized

notion of deferred action’ is an approach ‘that courts have found permissible in other

contexts,’” id. (quoting Texas (Memo), 549 F. Supp. 3d at 620-21). DHS thus

decided to continue to make individualized, discretionary grants of work

authorization available to DACA recipients. Following its careful and reasoned

decision-making, DHS promulgated the Rule on August 30, 2022. ROA.25785.

      E.     The Proceedings on Remand.
       Appellees filed a Supplemental Complaint as to the Rule on January 3, 2023,

and a motion for summary judgement on January 31, 2023. ROA.33371, 33420. On

March 2, 2023, Intervenor-Appellants filed a response to Appellees’ motion and a

cross-motion for summary judgement. ROA.34872, 34877. In their motion and

opposition, Intervenor-Appellants argued that Appellees had failed to introduce

evidence establishing their standing to challenge the Rule. ROA.34899-34907. In

their combined reply and response, Appellees attempted, for the first time in this

litigation, to demonstrate standing by arguing that the Rule increases Texas’s costs

of issuing driver’s licenses.     ROA.35416.       Intervenor-Appellants objected to

Appellees’ belated attempts to introduce supposed evidence of driver’s license

injuries, especially considering that Appellees had, for years, told the District Court

and this Court that driver’s license costs were not at issue in this case and Intervenor-


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Appellants had no opportunity to test Appellees’ unsupported declaration.

ROA.35648-35651. The District Court heard oral argument on the motions for

summary judgment on June 1, 2023. ROA.36916.

      After oral arguments in the remand phase of this case, the Supreme Court

issued opinions in several cases relevant to the District Court’s decision. On June

15, 2023, the Supreme Court held that “[a] State does not have standing as parens

patriae to bring an action against the Federal Government.” Haaland, 599 U.S. at

294-95. One week later, the Supreme Court found that “federal courts are generally

not the proper forum for resolving claims that the Executive Branch should make

more arrests or bring more prosecution,” Immigration Priorities, 599 U.S. at 680,

and that states have “no judicially cognizable interest in procuring enforcement of

the immigration laws by the Executive Branch,” id. at 677 (internal quotation

omitted). The parties filed notices of supplemental authority as to these decisions.

ROA.36214, 36257, 36298, 36332.

      On September 13, 2023, the District Court granted Appellees’ motion for

summary judgment and denied Intervenor-Appellants’ cross-motion. 2023 WL

5951196, at *24. It held that Appellees have standing, id. at *8-11, “that there are

no material differences between the Final Rule and the 2012 DACA Memorandum,”

id. at *12, and that the Rule is not severable, id. at *17-22. The District Court also

reaffirmed its prior order and, without considering its jurisdiction under 8 U.S.C.


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§ 1252(f)(1), expanded its original injunction and vacatur to the Rule. 2023 WL

5950808. The District Court also acknowledged DACA recipients’ strong reliance

interests and stayed its order with respect to current DACA recipients. Id. at *1.

The District Court stopped short, however, of entering final judgment, id., and this

appeal ensued.

                       SUMMARY OF THE ARGUMENT

      The District Court mistakenly assumed that the outcome of the parties’ cross-

motions for summary judgment was a foregone conclusion. But material differences

between the Rule and the Memorandum, such as the Rule’s explicit direction to use

individualized discretion in individual adjudications and its application to a narrower

and older population, and recent Supreme Court decisions in Immigration Priorities,

Haaland, and Aleman Gonzalez, created new issues of law and fact as to standing,

the merits, and the proper remedy.

      To start, the District Court erred by attempting to avoid the issue of Appellees’

standing to challenge the Rule, despite changes in the law and facts that required a

fresh analysis and that decidedly favor Intervenor-Appellants. The Rule applies to

an even smaller population than the Memorandum and is unambiguously

discretionary, making the already speculative and entirely unproven argument by

Texas (the only Appellee that has even attempted to prove standing) that some

DACA recipient somewhere must somehow increase Texas’s social services


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expenditures even more speculative and insufficient. Zero plus zero is zero, and the

District Court erred in relying on Texas’s insufficient speculation about social

services costs under the Memorandum to bolster Texas’s insufficient speculation

about social services costs under the Rule.         That is especially true because

Immigration Priorities held that states are not entitled to special solicitude when they

invoke supposed social services expenditures to challenge “the Executive’s

enforcement discretion.”     See 599 U.S. at 685 n.6; id. at 689 (Gorsuch, J.,

concurring) (in future cases, “lower courts should just leave [special solicitude] on

the shelf”). And to the limited extent the District Court did consider whether

Appellees have standing to challenge the Rule, it misinterpreted Immigration

Priorities, latched on to ambiguous portions of the administrative record, and relied

on speculation about potential future administrative action. The District Court

should have concluded that the States lack standing to challenge the Rule, or, at the

very least, that genuine disputes of material fact preclude summary judgment.

      On the merits, the District Court erroneously believed that the Rule merely

codified the Memorandum. But the Rule is far more than the formalization of the

three-page Memorandum. It is the culmination of a months’ long notice-and-

comment process, in which the public submitted more than 16,000 comments and

DHS replied with nearly 150 pages of reasoning. Through that process, DHS cured

the issues in DACA this Court identified with respect to the Memorandum, and it


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crafted a materially different Rule, which fits comfortably within the INA’s broad

grant of discretion. In holding otherwise, the District Court ignored the statutory

text and DHS’s long history of exercising enforcement discretion.

      Finally, the District Court lacked jurisdiction to enjoin or vacate the Rule. In

Aleman Gonzalez, the Supreme Court held that lower courts do not have jurisdiction

to “‘enjoin or restrain the operation of’ the relevant statutory provisions” of the INA.

596 U.S. at 548. The “relevant statutory provisions” are precisely those at issue in

this case. Yet the District Court ignored the Supreme Court and the plain text of the

INA when it entered a nationwide injunction and vacatur. Furthermore, even if the

District Court could take these steps, which the Supreme Court has emphasized it

may not, the injunction and vacatur are contrary to the public interest. The Rule

prevents the very real, harmful consequences—both to DACA recipients and the

wider public—of ending DACA. It also honors the weighty reliance interests of the

hundreds of thousands of individuals who have only ever known the United States

as home.     The District Court’s nationwide injunction and vacatur were thus

inequitable, and this Court should vacate them.

                            STANDARD OF REVIEW
      This Court reviews the grant and denial of cross-motions for summary

judgment—including summary judgment motions presenting questions of standing

and jurisdiction—de novo. See El Paso Cnty. v. Trump, 982 F.3d 332, 337 (5th Cir.


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2020). The Court must enter summary judgment “against a party who fails to make

a showing sufficient to establish the existence of an element essential to that party’s

case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986). In contrast, the Court must reverse the entry

of summary judgment where a district court improperly resolves disputes of fact that

are “reserved to the finder of fact, whether judge or jury, at the trial stage of such

proceedings.” See Carroll v. Metro. Ins., 166 F.3d 802, 808 (5th Cir. 1999); see also

Fleming v. Bayou Steel BD Holdings II, L.L.C., 83 F.4th 278, 298 (5th Cir. 2023)

(even in a bench trial, “[s]quaring [the] evidentiary circle is the task of the finder of

fact, not the stuff of summary judgment”).

      This Court reviews a district court’s grant of a permanent injunction for abuse

of discretion. Whole Women’s Health v. Paxton, 10 F.4th 430, 438 (5th Cir. 2021)

(citations omitted). A “district court abuses its discretion if it (1) relies on clearly

erroneous factual findings when deciding to grant or deny the permanent injunction,

(2) relies on erroneous conclusions of law when deciding to grant or deny the

permanent injunction, or (3) misapplies the factual or legal conclusions when

fashioning its injunctive relief.” Id. (cleaned up).




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                                   ARGUMENT

I.    THE DISTRICT COURT ERRED IN ITS DISPOSITION OF THE
      CROSS-MOTIONS FOR SUMMARY JUDGMENT AS TO
      STANDING.

      Although this Court previously held that Appellees had standing to challenge

the Memorandum, the facts and the law related to standing changed on remand.

Appellees challenged a different agency action based on a different administrative

record, and recent Supreme Court decisions soundly rejected the extravagant

theories of state standing, like parens patriae and special solicitude, on which

Appellees previously relied. Appellees’ evidence and the District Court’s analysis,

however, did not keep pace. Appellees purported to rely largely on stale speculation

about the Memorandum to demonstrate standing, and the District Court implicitly

invoked the doctrine of law of the case to avoid considering standing afresh. And to

the limited extent the District Court did engage with the facts and the law on remand,

the District Court’s analysis only confirmed that Appellees lack standing to

challenge the Rule.

      A.     Contrary to the District Court’s Holding, Texas (Memo) Should
             Not Have Predetermined the Outcome of Intervenor-Appellants’
             Challenge to Appellees’ Standing on Remand to Challenge the
             Rule.
      “Standing must exist at all stages of the litigation,” El Paso Cnty., 982 F.3d at

341, and it “is not dispensed in gross,” TransUnion LLC v. Ramirez, 594 U.S. 413,

431 (2021). Standing can also disappear: new facts or law can extinguish a

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plaintiff’s standing and end the required Article III case or controversy. See, e.g.,

Gilbert v. Donahoe, 751 F.3d 303, 313 (5th Cir. 2014) (plaintiff’s retirement

“destroy[ed] her standing to bring claims for injunctive relief” related to her

employment). And evaluating Appellees’ standing to challenge the Rule was well

within this Court’s broad mandate to the District Court on remand: “determine

whether [this Court’s] holdings as to the 2012 DACA Memorandum fully resolve

issues concerning the Final Rule.” Texas (Memo), 50 F.4th at 512. The District

Court thus had an obligation to consider standing afresh.

      Yet, by mistakenly limiting the scope of this Court’s remand and implicitly

(and erroneously) relying on the doctrine of law of the case, the District Court held

that its hands were tied. This Court’s remand, the District Court believed, was “very

specific” and “limited” because, “unless ultimately set aside by the Fifth Circuit en

banc or by the Supreme Court,” Texas (Memo) demonstrates that Appellees “have

established standing.” Texas (Rule), 2023 WL 5951196, at *8 (“Accordingly, the

topic of standing is not before this Court.”). That was error. This Court has

admonished district courts for cherry picking issues to address on remand or

narrowing this Court’s mandates. See In re Deepwater Horizon, 928 F.3d 394, 398-

400 (5th Cir. 2019); United States ex rel. Little v. Shell Expl. & Prod. Co., 602 F.

App’x 959, 965-66 (5th Cir. 2015); Johnson v. Maestri Murrell Prop. Mgmt., 555 F.

App’x 309, 311-12 (5th Cir. 2014) (per curiam). And the law of the case doctrine


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should rarely, if ever, be applied to matters of standing. See Propes v. Quarterman,

573 F.3d 225, 228 (5th Cir. 2009) (Article III issues “more likely to be considered

because of their conceptual importance”); 18B Charles Alan Wright & Arthur R.

Miller, Federal Practice & Procedure § 4478.5 (3d ed. 2022) (reconsideration of

subject-matter jurisdiction and justiciability “particularly appropriate”).

      That is especially true here because the facts and the law have changed. See

Propes, 573 F.3d at 228 (recognizing “substantially different” evidence as an

exception to the law of the case doctrine). To start, the Rule narrows the population

eligible for DACA. Although the Rule has the same threshold criteria as the

Memorandum, see ROA.25796, individuals who were eligible for DACA under the

Memorandum but “subsequently obtained a lawful immigration status . . . would no

longer be eligible for DACA” under the Rule. ROA.28742. Moreover, under the

Rule, DHS unequivocally retains discretion to reject applicants who satisfy the

threshold criteria, and to terminate an individual’s DACA “at any time in its

discretion.” 87 Fed. Reg. 53152, 53299. As a result, fewer people are eligible for

DACA under the Rule than under the Memorandum. In turn, the likelihood that an

Appellee state can demonstrate that any individual DACA recipient will increase an

Appellee state’s social services expenditures—which Appellees entirely failed to

prove with respect to the Memorandum, see Texas (Memo), 549 F. Supp. at 593

(acknowledging that Texas’s evidence of social services expenditures “also


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encompass[ed] the costs incurred due to non-DACA recipients”)—is even lower

under the Rule.

      Due to the passage of time, the characteristics of the population eligible for

DACA under the Rule are also distinct from the characteristics of the population

initially eligible under the Memorandum. To qualify for DACA under the Rule,

applicants must have been residing continuously in the United States since at least

June 15, 2007. See 87 Fed. Reg. 53152, 53298. Thus, the number of eligible adults

has risen in recent years and will only continue to increase: because the cohort of

potential DACA recipients under the Rule is fixed, DACA recipients will necessarily

get older. See, e.g., ROA.25934-25935 (showing shift in distribution of ages at time

of initial DACA application); ROA.28743 (explaining how date-of-entry

requirement impacts age demographics); ROA.28749 (mean and median age of

DACA recipients increased from 2017 to 2020). Because of these demographic

shifts, individuals who receive DACA under the Rule are more likely to find

employment, be engaged in higher-wage jobs, and be married and have U.S. citizen

children. See ROA.25904, 25911-12, 28749. And the number of individuals who

receive DACA under the Rule and who could be enrolled in K-12 public schools is

dwindling to none. See ROA.28749-28750. Appellees introduced absolutely no

evidence to account for or address how those demographic shifts under the Rule

would affect their still-unproven social services expenditures.


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      The law has also evolved. Last term, in Immigration Priorities, the Supreme

Court emphasized that states typically lack standing to challenge the Executive

Branch’s exercise of prosecutorial discretion, because “federal courts are generally

not the proper forum for resolving claims that the Executive Branch should make

more arrests or bring more prosecutions.” 599 U.S. at 680. The Supreme Court also

directly foreclosed Appellees’ theory of parens patriae standing to challenge the

federal government, see Haaland, 599 U.S. at 294-95, and it made clear that, when

a state challenges a federal policy based on “indirect effects on state revenues or

state spending . . . the State’s claim for standing can become more attenuated”—not

less, Immigration Priorities, 599 U.S. at 680 n.3 (emphasis added).

      Especially considering those changes in the law and facts, Appellees had an

obligation to prove, and the District Court had an obligation to consider, Appellees’

standing to challenge the Rule. But Texas, the only Appellee to ever even attempt

to prove standing, relied on a nearly unchanged evidentiary record focused on the

Memorandum. Thirty-four of the thirty-nine substantive exhibits to Appellees’

summary judgment motion with respect to the Rule are identical to what Appellees

submitted in connection with their challenge to the Memorandum. Compare ROA.

22451-53, with ROA.33475-77. Yet, as this Court already noted, those exhibits did

“not indicate precisely what portion of all costs for illegal aliens is spent on DACA

recipients,” Texas (Memo), 50 F.4th at 517-18, meaning that Appellees never


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connected a single cent of social services expenditures to a DACA recipient under

the Memorandum. To that speculation about the Memorandum, Appellees piled on

even more speculation about the Rule. Of Appellees’ five new exhibits, two were

irrelevant and inapposite declarations about Texas’s social services expenditures

unconnected to DACA recipients, see ROA.34138-65 (estimating Texas’s total

healthcare expenditures for undocumented immigrants and total education

expenditures for unaccompanied immigrant children without tying any healthcare

costs to DACA recipients and without accounting for the demographic shifts that

make most unaccompanied children ineligible for DACA under the Rule); two were

DHS websites confirming that, under the Rule, DHS will make case-by-case

discretionary determinations whether to grant DACA, see ROA.34166-94; and one

confirmed that, as of September 30, 2022, the overwhelming majority of DACA

recipients lived in states other than Texas, ROA.34195-204.

      With no actual evidence of social services expenditures for DACA recipients

under the Rule or the Memorandum, Appellees were forced to rely on a purported

syllogism—undocumented immigrants increase social services costs; DACA

recipients under the Rule are undocumented immigrants; therefore “the Plaintiff

States will bear some [social services] costs resulting from” DACA recipients.

ROA.33459-61. But that purported syllogism was insufficient to demonstrate an

injury in fact, especially because it fails to address the particular characteristics of


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recipients eligible for DACA under the Rule. See Ctr. for Bio. Diversity v. U.S. EPA,

937 F.3d 533, 545 (5th Cir. 2019) (rejecting, for purposes of standing, purported

“truism that water flows downstream [and so] any injury suffered downstream is

fairly traceable to unlawful discharges upstream”) (cleaned up).

      To attempt to prove redressability, Texas likewise relied exclusively on stale

speculation: an outdated survey and an uninformed guess, both of which predated

the Rule by nearly half a decade, and suffered from methodological flaws and faulty

assumptions. See, e.g., ROA.34195-204 (demonstrating potential sources of bias in

Dr. Tom K. Wong’s 2017 nationwide survey); ROA.17414-16 (Dr. Lloyd B. Potter

admitting that his “self-deportation” theory erroneously assumed that DACA

recipients could not work if DACA were rescinded). That the District Court

nonetheless held that Appellees have standing to challenge the Rule further confirms

that the District Court failed to fully assure itself of its jurisdiction, or to comply

with this Court’s order on remand.

      B.     The District Court’s Limited Engagement with Changes in the
             Facts and Law Only Underscores that Appellees Lack Standing.
      Although the District Court did purport to “revisit the standing issue,” Texas

(Rule), 2023 WL 5951196, at *8, it analyzed just three “recent developments” in the

facts and law: (1) a misreading of dicta in Immigration Priorities, which the District

Court erroneously believed preordained state standing in “DACA and DACA-

related cases,” id. at *9-10; (2) inconclusive portions of the administrative record,

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including a purported “admission” by DHS that DACA “could result in some

indirect fiscal effects on State and local governments,” albeit noting “the size and

even the direction of the effects is dependent on many factors,” id. at *9 (emphasis

added); and (3) evidence outside the summary-judgment record, including a newly

proposed, yet-unchallenged rulemaking that, if codified, may expand federal health

care programs’ coverage to DACA recipients, id. at *10 & n.37. None of these

“recent developments” supported the District Court’s conclusion. To the contrary,

each confirms that Appellees lack standing to challenge the Rule.

             1.     The District Court misinterpreted Immigration Priorities.

      If there were any doubt that the Court should grant Intervenor-Appellants’

motion for summary judgment as to Appellees’ lack of standing, Immigration

Priorities put it to rest. In Immigration Priorities, eight Justices reiterated the

limited role of the courts in refereeing political disputes, agreed that Texas lacked

standing to challenge an exercise of enforcement discretion in the immigration

context, and reversed the United States District Court for the Southern District of

Texas’s opinion that Texas had standing. The Justices held that standing “prevent[s]

the judicial process from being used to usurp the powers of the political branches.”

599 U.S. at 676 (cleaned up); see id. at 704 (Gorsuch, J., concurring) (standing

“filter[s] out [plaintiffs] with generalized grievances that belong to a legislature to

address” and prevents “government by lawsuit”) (cleaned up). Through their


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reasoning, the eight Justices adopted the very arguments that Intervenor-Appellants

have consistently advanced in this case to explain why Texas’s generalized policy

disagreements with the federal government, no matter how strongly held, do not give

Texas standing to challenge the United States’ exercise of authority over

immigration—a power expressly granted to the federal government under our

constitutional system.

      To start, the eight Justices emphasized that “bedrock Article III constraints”

apply “in cases brought by States against an executive agency or officer.” Id. at 680

n.3; see id. at 687 (Gorsuch, J., concurring) (“[n]othing in [Article III] suggests a

State may have standing when a similarly situated private party does not”). In fact,

the Court clarified that state injuries premised on “indirect effects on state revenues

or state spending” may in fact be “more attenuated” than other theories of harm. Id.

at 680 n.3 (emphasis added). In so holding, the Court explained that Massachusetts

v. EPA, 549 U.S. 497 (2007), which Appellees and this Court previously relied on

to justify “special solicitude” in the standing analysis, see Texas (Memo), 50 F.4th

at 514-17, simply “does not control” challenges “to an exercise of the Executive’s

enforcement discretion,” Immigration Priorities, 599 U.S. at 685 n.6. 3




3
  In Haaland, the Supreme Court also unequivocally held that “a State does not have
standing as parens patriae to bring an action against the Federal Government.” 599
U.S. at 294-95 (cleaned up).
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      The Court also made clear that, to prove standing, any “asserted injury [must

be] traditionally redressable in federal court.” Id. at 676. That limitation is

particularly apposite in the immigration context, where Congress has historically

limited the states’ power and expressly prohibited courts from enjoining federal

immigration policies.   See id. at 689-93 (Gorsuch, J., concurring) (describing

Texas’s redressability problems in light of 8 U.S.C. § 1252(f)(1)); see also Arizona

v. United States, 567 U.S. 387, 421 (2012) (Scalia, J., concurring) (“primary

responsibility for immigration policy has shifted from the States to the Federal

Government”). Indeed, in Immigration Priorities, the Court reiterated that states

have “no judicially cognizable interest in procuring enforcement of the immigration

laws by the Executive Branch.” 599 U.S. at 677 (cleaned up).

      Applying Immigration Priorities, the District Court should have granted

Intervenor-Appellants’ motion. Instead, the District Court misread Immigration

Priorities, asserting that it “directly addressed DACA and DACA-related cases as

exceptions to the no standing rule.” Texas (Rule), 2023 WL 5951196, at *9. For

support, the District Court relied on dicta distinguishing cases involving non-

prosecution from those involving non-prosecution with benefits. See id. (citing

Immigration Priorities, 599 U.S. at 683). Yet, in Immigration Priorities, the

Supreme Court explained merely that “a challenge to an Executive Branch policy

that involves both the Executive Branch’s arrest or prosecution priorities and the


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Executive Branch’s provision of legal benefits or legal status could lead to a different

standing analysis,” 599 U.S. at 683 (citing DAPA, 809 F.3d at 154) (emphasis

altered), not that a state plaintiff would have standing to challenge a policy of non-

prosecution with benefits.

       Here, Appellees challenge only the Rule, which involves merely an exercise

of deferred action. 87 Fed. Reg. 53152, 53298.            Work authorization, lawful

presence, and any other so-called benefits associated with the Rule flow from

entirely separate statutes and regulations, see 8 C.F.R. § 1.3(a)(4)(vi) (classifying

immigrants “currently in deferred action status” as lawfully present); 8 U.S.C.

§ 1324a(h)(3) (permitting DHS to “authorize[]” classes of immigrants to be

employed); 8 U.S.C. § 1182(d)(5)(A) (authorizing DHS to grant “any” immigrant

advance parole), which Appellees do not challenge here, see Haaland, 599 U.S. at

296 (rejecting injury-in-fact based on provisions that “operate independently” of and

are not “fairly traceable to” challenged statute). And in this case, unlike in DAPA,

Texas has purported to introduce evidence of only indirect costs, see Part I.B.3

(discussing Texas’s failure to provide evidence of driver’s license costs), which

Immigration Priorities itself makes clear may be “more attenuated,” 599 U.S. at 680

n.3.

       The District Court also believed that Appellees here “pleaded into” another of

Immigration Priorities’ “exceptions to the no-standing rule”: DHS’s supposed


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abdication of its statutory responsibilities. See Texas (Rule), 2023 WL 5951196, at

*10. Yet, the Supreme Court merely hypothesized that “the standing calculus might

change” if the government “wholly abandoned its statutory responsibilities to make

arrests or bring prosecutions,” Immigration Priorities, 599 U.S. at 682-83 (emphasis

added), not that abdication standing necessarily exists. In fact, in Immigration

Priorities, the Supreme Court explicitly declined to consider an abdication-standing

argument, id., even though Texas, like Appellees here, “pleaded a claim under the

Take Care Clause,” id. at 689 (Gorsuch, J., concurring); see Texas (Rule), 2023 WL

5951196, at *10 (noting that Appellees sought abdication standing merely because

they “repeatedly pleaded that DHS . . . violated the Take Care Clause”). Regardless,

Appellees have introduced no facts demonstrating beyond genuine dispute that DHS

actually—let alone wholly—abdicated its responsibility to enforce the INA, and so

the District Court erred in granting summary judgment on that speculative theory.

            2.     As even the District Court’s opinion makes clear, the
                   administrative record cannot support Appellees’ standing.
      With respect to injury-in-fact, the District Court ascribed significant meaning

to DHS’s purported “admissions” in the administrative record that the Rule imposes

indirect social services costs and causes labor-market distortions. See id. at *9

(quoting ROA.25806) (DACA “could result in some indirect fiscal effects on State

and local governments”); id. at *13 n.52 (quoting ROA.25800) (“DHS admitted that

in principle DACA recipients take jobs” but “discounted this effect because it found

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the data ‘unquantifiable’”). Yet neither “admission” stands up to scrutiny. First,

even assuming Texas could ever premise standing on indirect fiscal effects, but see

Part I.B.1, DHS’s highly equivocal statement that the Rule could affect state

governments in some direction is no admission at all.                  Second, DHS’s

acknowledgement of the Rule’s labor-market impacts merely reports economists’

predictions and speculation, which are contradictory and “incompatible with each

other,” as the District Court recognized. Texas (Rule), 2023 WL 5951196, at *13

n.52.    That inconclusive speculation about what “could happen” is likewise

insufficient for standing. See, e.g., Louisiana ex rel. Louisiana Dep’t of Wildlife &

Fisheries v. Nat’l Oceanic & Atmospheric Admin., 70 F.4th 872, 883 (5th Cir. 2023).

        With respect to traceability and redressability, the District Court reported that

some “portions of the administrative record [ ] support” Appellees’ contention,

based on Dr. Wong’s 2017 survey of DACA recipients, that the Rule’s termination

would cause DACA recipients to self deport, thereby alleviating the states’ social-

services costs and labor-market distortions. Texas (Rule), 2023 WL 5951196, at *9.

For support, the District Court cited: DHS’s response to a comment regarding the

exact same 2017 survey by Dr. Wong.                 See ROA.25798.         There, DHS

“acknowledge[d]” the survey’s existence but pointed out the same flaws in Dr.

Wong’s survey that Intervenor-Appellants identified below: it is “five years old,

calls for some degree of speculation by DACA recipients, and was collected in a


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particular time and context.” Id.; see also ROA.34912 (arguing that Appellees failed

to “establish any overlap between the limited number of survey respondents who

hypothesized that they might leave the United States if the Memorandum were to

end and DACA recipients in Texas,” which is the only state that has even attempted

to prove any injury).    For the same reasons that Dr. Wong’s survey fails to

demonstrate that the Rule caused any redressable injury, DHS’s mere

acknowledgement of (and disagreement with) the survey likewise cannot support

Appellees’ theory of traceability and redressability.

             3.    The District Court erred in considering evidence outside the
                   summary judgment record.
      Unable to identify facts supporting standing in the administrative or summary

judgment record, the District Court went outside them. First, the District Court

cautioned that Appellees’ standing “is about to be buttressed by the Executive

Branch’s pending action”—a new rule proposed by the Department of Health and

Human Services that the District Court asserted would “expand[] the Affordable

Care Act and Medicaid coverage to DACA recipients.” Texas (Rule), 2023 WL

5951196, at *10. Yet that proposed rule is not—and may never be—in effect. It

was improper for the District Court to base its standing analysis on speculation about

what might happen if the government chooses some future regulatory path. Texas

v. Biden (MPP), 20 F.4th 928, 972-73 (5th Cir. 2021) (standing cannot rely on



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“prognosticat[ions]” about “future choices of third parties”), rev’d on other grounds,

142 S. Ct. 2528 (2022).

      Second, the District Court acknowledged, and appeared to credit, Appellees’

long-since-waived argument, interjected by Appellees in their summary judgment

response brief, that Texas incurs direct costs providing driver’s licenses to DACA

recipients. See Texas (Rule), 2023 WL 5951196, at *10 n.37 (“Texas recently

resurrected its argument that standing exists due to the costs incurred by the state in

issuing driver’s licenses to DACA recipients. . . . The Defendant-Intervenors

objected to Texas’s reassertion of this claim . . . . Clearly, if this Court were to

reconsider standing it would also have to consider this contention.”). But the District

Court erred to the extent it factored those supposed driver’s licenses costs into its

standing analysis. Appellees long ago waived any reliance on driver’s license costs

to challenge the Memorandum, ROA.36604-36605, precisely because they

recognized that “DACA recipients largely already have driver’s licenses, and they

pay a $24 fee to renew their licenses,” id. Indeed, in 2022, Appellees acknowledged

that their decision not to introduce any evidence of driver’s license costs reflected a

“litigation strategy.” ROA.35538. In addition to disavowing to the District Court

any reliance on driver’s license costs, Appellees repeatedly chose not to produce in

discovery any driver’s license-related evidence that Intervenor-Appellants could

have explored and challenged. An unsupported declaration, presented long after the


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close of discovery, and without Intervenor-Appellants having any chance to test it,

is highly prejudicial, was not properly before the District Court, and cannot be relied

upon to support Appellees’ standing. See Fed. R. Civ. P. 56(c)(2); see also Patterson

v. Houston Indep. Sch. Dist., 570 F. App’x 367, 369-70 (5th Cir. 2014) (district court

did not abuse its discretion in striking summary judgment evidence plaintiff failed

to disclose).

      C.        At the Very Least, the District Court Should Have Denied the
                Summary Judgment Motions and Set the Case for Trial.

      Even if Appellees’ speculation of possible injury did enough to create genuine

disputes of material fact as to Appellees’ standing to challenge the Rule (and it did

not), Appellees’ purported evidence fell far short of resolving them. As even the

District Court’s cherry-picked citations to the administrative record make clear, with

respect to each element of standing, reasonable minds could differ. See, e.g., Texas

(Rule), 2023 WL 5951196, at *9 (DACA “could result in some indirect fiscal effects

. . . the size and even direction of [which] is dependent on many factors”). “As the

party seeking to invoke federal jurisdiction, the [Appellees] [bore] the burden of

establishing standing . . . and because there is a final summary judgment and a

permanent injunction in this case, the [Appellees] must have adduced evidence to

support controverted factual allegations,” which evidence must be so one-sided that

there is no genuine factual dispute. El Paso Cnty., 982 F.3d at 338. Especially

considering the substantial evidence undermining each element of standing,

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Appellees fell woefully short: viewing the evidence in the light most favorable to

Intervenor-Appellants, there are, at the very least, genuine disputes as to injury-in-

fact, traceability, and redressability.

      Injury-in-fact: The evidence suggests that DACA recipients decrease law

enforcement costs, see, e.g., ROA.9787, and that DACA reduces government

spending on healthcare for DACA recipients, see, e.g., id., ROA.9863-68,

ROA.24510, 24532-33. For that reason, the District Court (quoting DHS) noted that

“the size and even the direction of” the Rule’s indirect effects on Appellees’ social

services expenditures is unclear and “dependent on many factors,” Texas (Rule),

2023 WL 5951196, at *9. At the same time, Texas identified not a single dollar of

social services spending on a DACA recipient.

      Traceability: The record includes evidence that, to the extent Texas does

spend money on DACA recipients, it is because those recipients are here, not

because they have DACA. ROA.18082.

      Redressability: There is ample evidence showing that if DACA were

rescinded, DACA recipients would remain where they are, as undocumented

immigrants, instead of leaving the United States. See ROA.14819 (noting

Intervenor-Appellants’ testimony about their desire to remain in the United States

even if DACA ended); ROA.17989 (expert testifying DACA rescission would not

cause recipients to leave the U.S.); ROA.18125 (expert testifying that, if DACA


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ends, DACA recipients are likely to simply “return to the shadows”). That is

particularly true for the individuals eligible for DACA under the Rule, who, because

they are older, tend to have even stronger ties to this country as compared to those

that had been eligible under the Memorandum. Intervenor-Appellants also adduced

evidence casting doubt on Dr. Wong’s outdated survey results and Dr. Potter’s

gratuitous speculation that DACA’s termination would cause any DACA recipients

to “self-deport.” ROA.34114.

                                    *      *       *

Because the evidence on these critical issues was hotly contested, if the Intervenor-

Appellants were not entitled to summary judgment under Immigration Priorities, the

District Court should instead have denied each party’s summary judgment motions

as to standing and held a trial to resolve disputed questions of fact.

II.   THE DISTRICT COURT ERRED IN FINDING THAT THE RULE
      VIOLATES THE APA.

      The District Court and Appellees agreed that, by promulgating the Rule

through notice-and-comment rulemaking, DHS remedied the Memo’s supposed

procedural flaws. See Texas (Rule), 2023 WL 591196, at *11. The District Court

also wisely declined to reach Appellees’ novel argument that the Rule violates the

Take Care Clause and Appellees’ wholly unsupported argument that the Rule is

arbitrary and capricious: As Intervenor-Appellants argued below, the Take Care

Clause is a source of executive prosecutorial discretion, including the Executive’s
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discretion (captured in the Rule) not to prosecute. See, e.g., United States v.

Armstrong, 517 U.S. 456, 464 (1996); Heckler v. Chaney, 470 U.S. 821, 832 (1985)

(because “it is the Executive who is charged by the Constitution to ‘take Care that

the Laws be faithfully executed,’” the Executive has “special province” not to

prosecute).   And, in promulgating the Rule, DHS easily satisfied the APA’s

“deferential” arbitrary-and-capricious standard, see, e.g., FCC v. Prometheus Radio

Project, 592 U.S. 414, 423 (2021), including by carefully considering and explaining

DACA’s justification and impact in an administrative record comprising

approximately 7,600 pages of government studies and academic research papers and

analyses, see ROA.25566-33254, and by receiving and thoroughly responding to

16,361 overwhelmingly supportive comments, see ROA.25795.

      Proceeding from the mistaken premise that “there are no material differences

between the Final Rule and the 2012 DACA Memorandum,” Texas (Rule), 2023 WL

5951196, at *12, however, the District Court concluded that the Rule violates the

APA for the same reasons it and this Court held that the Memorandum did: the Rule

supposedly grants class-wide relief that is somehow inconsistent with the broad

powers delegated to DHS in the INA, see id. at *11-14, 17. But two crucial

differences between the Rule and the Memorandum undermine the District Court’s

analysis. First, the Rule unequivocally and explicitly requires adjudicators to

exercise individualized discretion, not only with respect to whether to grant DACA,


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but also with respect to work authorization, advanced parole, and whether and when

to terminate an individual’s DACA. Second, because the Rule “does not expand the

threshold criteria” under the Memorandum, ROA.25796 (cleaned up), the Rule

effectively narrows the population eligible for an exercise of prosecutorial discretion

in the first place. Those differences—which the District Court entirely ignored—

distinguish the Rule from the Memorandum and illustrate that the Rule is entirely

consistent with the APA.

      A.     The Rule Does Not Exceed the INA’s Broad Grant of Discretion to
             DHS.
      In Texas (Memo), this Court recognized that the INA delegates to the

Secretary the discretion to “establish national immigration enforcement policies and

priorities and to carry out the administration and enforcement of immigration laws,

including to establish such regulations, issue such instructions, and perform such

other acts as he deems necessary for carrying out his authority.” 50 F.4th at 526-27

(cleaned up). This Court also cited 8 U.S.C. § 1182(d)(5), which authorizes the

Secretary to parole into the United State “any” immigrant on a “case-by-case basis”

in the Secretary’s “discretion . . . under such conditions as he may prescribe.” Id. at

525 n.195. Other provisions of the INA similarly delegate to the Secretary the

discretion to “determine[]” which immigrants are “lawfully present in the United

States,” see e.g. 8 U.S.C. § 1611(b)(2), and to decide which immigrants are

“authorized to be [ ] employed,” 8 U.S.C. § 1324a(h)(3). Despite these broad

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statutory delegations to DHS, however, this Court held that the Memorandum

exceeded DHS’s authority because the Memorandum operated class-wide and made

a “new class” of 1.7 million immigrants eligible for relief in one fell swoop. See

Texas (Memo), 50 F.4th at 526.

      The Rule resolves that concern. Although the Rule and the Memorandum

both invoke the Secretary’s “discretion,” 87 Fed. Reg. 53152, 53298, see

ROA.18762-63, the Rule ensures, through a series of detailed directives at each step

of the DACA application process, that DACA will be granted only in a temporary,

contingent, and individualized way. First, the Rule clarifies that USCIS must “in its

sole discretion” determine, including by consulting with other government agencies

as it “deems appropriate in its discretion,” that a DACA applicant has

“demonstrat[ed] by a preponderance of the evidence that [the applicant] meets the

threshold criteria.” 87 Fed. Reg. 53152, 53298-99. Second, the Rule makes clear

that an applicant will not necessarily receive DACA even if the applicant satisfies

“threshold” eligibility criteria. Id. The Rule states plainly that the threshold criteria

precede USCIS’s exercise of discretion, rather than constrain it: “[e]ven if the

threshold criteria . . . are all found to have been met, USCIS retains the discretion to

assess the individual’s circumstances and to determine that any factor specific to that

individual makes deferred action inappropriate.” 87 Fed. Reg. 53152, 53299. Third,

the Rule specifies that work authorization is not automatically tethered to DACA.


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See id. To the contrary, DACA recipients may receive work authorization, but only

“if approved in DHS’s discretion.” Id. And fourth, the Rule makes clear that USCIS

“may terminate a grant of [DACA] at any time in its discretion,” id. (emphasis

added), and, moreover, that DACA “does not preclude DHS from commencing

removal proceedings at any time,” 87 Fed. Reg. 53152, 53298 (emphasis added).

As evidence of that discretion, USCIS has already denied more than 1,200 DACA

renewal requests (from applicants who had already received DACA under the

Memorandum) during the first six months of 2023. See USCIS, Number of Form I-

821D     Requests,   https://www.uscis.gov/sites/default/files/document/data/daca_

performancedata_fy2023_q3.pdf.

       Thus, the Rule does not entitle a “new class of otherwise removable”

immigrants to relief. Texas (Memo), 50 F.4th at 526. Rather, by layering discretion

on discretion, the Rule merely allows certain immigrants to apply for an

individualized grant of prosecutorial discretion, which DHS can terminate at any

time, in its discretion. DHS’s exercise of that individualized discretion is entirely

consistent with the INA. See, e.g., Arizona, 567 U.S. at 396-97 (“A principal feature

of the removal system is the broad discretion exercised by immigration officials.”).

       DHS’s exercise of that individualized discretion is also squarely within the

agency’s wheelhouse. This Court, implicitly invoking the major questions doctrine,

previously held that the Memorandum exceeded DHS’s authority because it


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“implicate[d] questions of deep economic and political significance” that Congress

could not have intended to delegate to DHS. Texas (Memo), 50 F.4th at 526 (cleaned

up). Following Texas (Memo), however, the Supreme Court reemphasized that, in

major questions cases, an agency’s “previous invocations of” and “past practice

under” a statute help illustrate the intended breadth of Congress’s delegation. Biden

v. Nebraska, 143 S. Ct. 2355, 2369, 2372 (2023). Here, DHS’s previous invocations

of and past practice under the INA illustrates that the Rule is well within Congress’s

grant of authority.

      Deferred action is not a recent innovation, but instead longstanding, and

widely endorsed. See, e.g., Reno v. Am.-Arab Anti- Discrimination Comm., 525 U.S.

471, 484-85 (1999) (praising deferred action as a “commendable exercise in

administrative discretion”) (cleaned up). In fact, DACA is strikingly similar to the

Family Fairness Program, instituted by President Ronald Reagan in 1987 and

extended by President George H.W. Bush in 1990. The Family Fairness Program

ultimately offered renewable immigration benefits and work authorization—for an

indefinite period of time and on a non–country specific basis—to approximately 1.5

million people who lacked immigration status and who Congress had repeatedly

chosen not to address in contemplated legislation. See ROA.593-94, 616, 618-20;

see also ROA.25608 (noting that “the 1987 Family Fairness Memorandum was

promulgated against a backdrop of a failed legislative effort” to address the eligible


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population and that the “1990 Family Fairness Memorandum came amidst rejection

of protection from deportation [for the eligible population] in a House bill”).

       In DAPA and Texas (Memo), the Court distinguished DACA from the Family

Fairness Program because of DACA’s “scale” and because DACA is not “interstitial

to a statutory legalization scheme.” Texas (Memo), 50 F.4th at 527-28. But DACA’s

scale under the Rule is narrow, decreasing, and smaller than that covered under the

Family Fairness Program. See Part I.A. And unlike in DAPA, where DHS attempted

to “expand[] DACA by making millions more persons eligible,” 809 F.3d 134, 147

(5th Cir. 2015), here, DHS intentionally chose to keep DACA’s eligibility criteria

fixed. See, e.g., ROA.25849-50. The practical effect is that the DACA-eligible

population is on the decline. See Part I.A.

       The Rule also makes clear that DACA remains interstitial. Indeed, DHS

reported that, far from abandoning its legislative efforts, “Congress is actively

considering legislation to provide substantive immigration benefits to a DACA-like

population.”   ROA.25820.      And the number of DACA renewal requests has

generally decreased annually for the past 5 years, see USCIS, Number of Form I-

821D     Requests,    https://www.uscis.gov/sites/default/files/document/data/daca_

performancedata_fy2023_q3.pdf, including potentially because DACA recipients

have been able to transition to other immigration statuses. See, e.g., ROA.24501,

25815. DACA is thus in the same position now as the Family Fairness Program was


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in 1987 and 1990, and the Rule is thus entirely consistent with DHS’s past practice

under the INA. See ROA.25820 (“it was by no means assured that Congress would

act when legacy-INS implemented” Family Fairness; INS “relied not on an

assurance of future Congressional ratification, but on its authority to exercise

enforcement discretion”).

      B.     The District Court’s Analysis of the Rule’s Substantive Provisions
             Only Confirms that the Rule Complies with the APA.
      Having erroneously concluded that “the Final Rule is, in all pertinent parts,

exactly the same as the 2012 DACA Memorandum,” Texas (Rule), 2023 WL

591196, at *16, the District Court declined to thoroughly analyze whether the Rule

(as opposed to the Memorandum) violates the APA. Instead, the District Court

“focus[ed] on two simple aspects” of the Rule—advance parole and the Rule’s

supposed “lack of temporal limits”—that, the District Court believed, “demonstrate

some of the [Rule’s] ongoing problems.” Id. at *14-17. Far from demonstrating that

the Rule violates the APA or exceeds Congress’s delegation of authority, however,

the District Court’s analysis only underscores that the Rule is entirely consistent with

the INA.

      First, the District Court found the Rule’s continued references to advance

parole “problematic.” Id. at *14-15. Without the Rule, the District Court reasoned,

DACA recipients would be ineligible for advance parole at all, let alone for

“academic research, semesters abroad, interviews, overseas assignments, training,

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and meetings with clients”—circumstances the District Court believed were

“generous[ly]” encompassed by the Rule but wholly unauthorized by Congress. Id.

The District Court ignored, however, that DACA recipients (and all other non-U.S.

citizens) are eligible for advance parole not because of the Rule, but because

Congress so provided in the INA.

      The Court’s “analysis begins and ends with the text,” Little Sisters of the Poor

Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2380 (2020) (citation

omitted), and in the INA, Congress delegated to the Secretary the authority to parole

into the United States “any [immigrant] applying for admission” on a “case-by-case

basis” in the Secretary’s “discretion.” 8 U.S.C. § 1182(d)(5)(A) (emphasis added).

The INA—not the Rule—also specifies the broadly worded circumstances—“urgent

humanitarian reasons or significant public benefit”—under which DACA recipients

(and every other non-citizen) may receive advance parole. Id. And although the

INA explicitly prohibits the Secretary from granting advance parole to certain

refugees and crewmembers of boats, aircrafts, or air carriers during a labor dispute,

see id. (citing 8 U.S.C. §§ 1182(d)(5)(B), 1184(f)), it imposes no other limits on the

Secretary’s discretion. In fact, when Congress amended the INA, it considered

exhaustively listing the circumstances justifying advance parole, see H.R. 2202,

104th Cong. § 524 (1995) (proposing that non-U.S. citizens be eligible for advanced

parole only for a medical emergency, organ donation, death of a family member, to


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assist in law enforcement activity, or to be prosecuted for a crime), but instead used

capacious phrases and delegated to the Secretary the authority to give them meaning.

The Supreme Court has recognized that, in those circumstances, when Congress

instructs an agency to comply with broad terms without an “exhaustive or illustrative

list” or “criteria or standards,” those broad terms give the agency “virtually unbridled

discretion.” Little Sisters, 140 S. Ct. at 2380; see also Huawei Techs. USA, Inc. v.

FCC, 2 F.4th 421, 438 (5th Cir. 2021) (“Congress’s use of . . . open-textured term[s]

suggests an express delegation of authority to the agency to elucidate the

provision.”) (cleaned up).

      In the Rule, the Secretary exercised that discretion by applying to DACA the

same interpretations and standards DHS has long used in other contexts, consistent

with the INA. For example, DHS chose to apply the same interpretation of “urgent

humanitarian reasons or significant public benefits” to DACA recipients as to all

other non-U.S. citizens, see ROA.25617—despite commenters’ requests that DHS

“ease or eliminate advance parole requirements for DACA recipients,” ROA.25884.

And it explained why its case-by-case consideration of applicant’s “humanitarian,

educational, or employment related” circumstances for advanced parole fit

comfortably within the INA’s broad language. ROA.25882.

      Thus, contrary to the District Court’s analysis, DHS did not “expand the

application of advance parole” or “decide[] not to comply with the requirements


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dictated by Congress.” Texas (Rule), 2023 WL at *15. Rather, DHS exercised the

discretion expressly granted by Congress in the INA. That is entirely consistent with

the APA, and the District Court held otherwise only by disregarding the Supreme

Court’s command that a statute must not be interpreted to “impos[e] limits on an

agency’s discretion that are not supported by the text.” Little Sisters, 140 S. Ct. at

2381.

        Second, the District Court highlighted DHS’s supposedly “shifting” “position

on [DACA’s] lack of temporal limits” as a “new problem the administrative record

reveals.” Texas (Rule), 2023 WL 591196, at *16. Because DHS “has no plans to

ever terminate the [Rule] unless and until Congress adopts DACA,” the District

Court believed, DHS “clearly intends to continue this Congressional unauthorized

program indefinitely.” Id.

        The administrative record belies the District Court’s accusations.       DHS

repeatedly emphasized that the Rule “is not a permanent solution for the affected

population, and legislative efforts to find such a solution remain critical,”

ROA.25788; underscored that the Rule does not provide DACA recipients with

“permanent protection from removal,” ROA. 25796; explained that a “grant of

deferred action under DACA is by its nature temporary, and it can be terminated at

any time,” ROA. 25813; and agreed “that the DACA policy […] is not a permanent

solution for affected persons,” ROA.25816. Put differently, DHS anticipates that


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the Rule, like the Family Fairness Program, will be “interstitial” to a permanent

Congressional fix—and thus the Rule is entirely consistent with the agency’s past

practice.

III.   THIS COURT SHOULD VACATE THE DISTRICT COURT’S ORDER
       PERMANENTLY ENJOINING DACA AND VACATING THE RULE.

       On remand, Intervenor-Appellants highlighted recent Supreme Court

decisions in Aleman Gonzalez, Immigration Priorities, and Collins v. Yellen, 141 S.

Ct. 1761, 1789 (2021), which collectively limited lower courts’ authority to interfere

with DHS’s implementation of the INA and emphasized the importance of narrowly

tailored relief, see ROA.34926-29, 35493. Those decisions, which were not fully

briefed in Texas (Memo), stripped the District Court of power to enjoin or vacate the

Rule and required the District Court to fashion an individualized remedy taking

reliance interests into account.    The District Court, however, failed even to

acknowledge Intervenor-Appellants’ repeated arguments that 8 U.S.C. § 1252(f)(1)

foreclosed Appellees’ requested remedy, and it awarded nationwide relief when only

a single Appellee, Texas, even attempted to demonstrate any injury. In doing so, the

District Court entirely abdicated its “non-discretionary” and “fundamental duty to

examine its jurisdiction.” In re Paxton, 60 F.4th 252, 256-57 (5th Cir. 2023). Thus,

even if this Court holds that Texas has standing and that the Rule is substantively

unlawful, it should vacate the District Court’s remedy.



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      A.     Under 8 U.S.C. § 1252(f)(1), the District Court Lacked Jurisdiction
             to Enjoin or Vacate the Rule.

      By its plain text, the INA bars the District Court from issuing an injunction.

Section 1252(f)(1) makes clear that “no court (other than the Supreme Court) shall

have jurisdiction or authority to enjoin or restrain the operation of” specified

provisions of the INA, including the implementing authority for DACA. The

District Court’s injunction was thus incompatible with the INA—as well as with

decisions from other federal courts that have faithfully applied it. See, e.g., M.P. v.

Joyce, 2023 WL 5521155 (W.D. La. Aug. 10, 2023), report and recommendation

adopted, 2023 WL 5517263, at *5 (W.D. La. Aug. 25, 2023) (Aleman-Gonzalez

“eliminated the possibility of class-wide injunctive relief for constitutional

violations related to prolonged post-removal-order detention”); Al Otro Lado, Inc.

v. Mayorkas, 619 F. Supp. 3d 1029, 1047 (S.D. Cal. 2022) (Section 1252(f)(1)

“prohibits [the court] from entering a permanent class-wide injunction enjoining

[DHS] from turning back noncitizen asylum seekers”).

      Without the benefit of full briefing, and based only on Rule 28(j) letters,

however, this Court previously held that Section 1252(f)(1) did not bar the District

Court’s injunction and vacatur of the Memorandum. See Texas (Memo), 50 F.4th at

528-29. But the Rule differs from the Memorandum in ways that compel a different

result. First, this Court held that Section 1252(f)(1) “prohibits injunctions only as to

§§ 1221-1232” of the INA, and nothing in those sections authorized DHS’s

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implementation of the Memorandum. Texas (Memo), 50 F.4th at 529. Yet, in the

Rule, DHS drew its authority for DACA from, and made clear that DACA is

consistent with, provisions specifically referenced in Section 1252(f)(1), see

ROA.25818, 25831 (citing 8 U.S.C. §§ 1225, 1226, 1226a), and Appellees expressly

challenged the Rule as contravening Sections 1225, 1226, 1227, and 1229a,

ROA.22434, 22437, which also fall within Section 1252(f)(1)’s scope. Because the

Rule thus involves DHS’s “actions to enforce, implement, or otherwise carry out the

specified statutory provisions,” Aleman Gonzalez, 596 U.S. at 550, Section

1252(f)(1) prohibits its injunction. Second, this Court held that Section 1252(f)(1)

did not bar the District Court’s injunction of the Memorandum because the District

Court stayed its order as to current DACA recipients. Texas (Memo), 50 F.4th at

529. But the District Court’s new order permanently and immediately enjoins the

Rule, and its stay is, in effect, only applicable to DACA recipients who received

DACA under the Memo. See 2023 WL 5950808, at *1. Furthermore, the District

Court’s stay can be lifted at any time. See id. The INA cannot be read to permit the

District Court to retain jurisdiction to issue an otherwise-prohibited injunction

merely by temporarily staying its effect. See In re Whitaker Const. Co., Inc., 411

F.3d 197, 205 (5th Cir. 2005) (“courts should avoid constructions which will render

legislation absurd”).

      Section 1252(f)(1) likewise bars vacatur. Although Section 1252(f)(1) strips


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lower courts of jurisdiction only to “enjoin or restrain,” the Supreme Court has

suggested that phrase encompasses vacatur as well. In Aleman Gonzalez, the

Supreme Court defined “enjoin” broadly: it held that, when a court “enjoin[s],” it

“ ‘require[s],’ ‘command[s],’ or ‘positively direct[s]’ . . . or [ ] ‘require[s] a person

to perform . . . or to abstain or desist from [ ] some act.’ ” 596 U.S. at 548-49. And,

in Immigration Priorities, Justice Gorsuch, joined by Justices Thomas and Barrett,

argued that vacatur clearly falls within that definition because vacatur, like an

injunction, requires federal officials to act. 599 U.S. at 690-91 (Gorsuch, J.,

concurring). Were it otherwise, Justice Gorsuch reasoned, vacatur could never

redress a plaintiff’s supposed injuries.        See id. at 690-92.   Following Justice

Gorsuch’s reasoning, the Appellees’ theories of standing and jurisdiction thus cannot

both be true at once: either vacatur restrains DHS from implementing the Rule and

is precluded by Section 1252(f)(1), or vacatur does not restrain DHS from

implementing the Rule, and Appellees lack standing for want of redressability.

Either way, this Court should vacate the District Court’s order as beyond its statutory

authority.

      B.     Even if the District Court Had Jurisdiction to Enjoin or Vacate the
             Rule, It Erred in Granting a Nationwide Remedy.
      Without reweighing the equities, the District Court assumed that, if Appellees

succeeded on the merits, a nationwide remedy was a foregone conclusion. That was

error, especially considering how the facts and law have changed.

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             1.    Nationwide injunctions are disfavored.

      Since this Court enjoined the Memorandum nationwide, the chorus of courts

and Justices cautioning against nationwide injunctions has only grown louder. See,

e.g., Immigration Priorities, 599 U.S. at 693-95, 702-03 (Gorsuch, J., concurring)

(expressing skepticism of universal injunctions and supporting traditional view that

“when a federal court finds a remedy merited, it provides party-specific relief,

directing the defendant to take or not take some action relative to the plaintiff”);

Arizona v. Biden, 40 F.4th 375, 395-98 (6th Cir. 2022) (Sutton, C.J., concurring);

Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J.,

concurring) (nationwide injunctions are “flaw[ed]” because they dictate “how the

defendant must act towards persons who are not parties to the case”); Trump v.

Hawaii, 138 S. Ct. 2392, 2429 (2018) (Thomas, J., concurring) (describing

“universal injunctions” as “legally and historically dubious”). And as this Court has

recently emphasized, “nationwide injunctions are [not] required or even the norm.”

Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021) (per curiam). Instead,

remedies must be “tailored to redress” a plaintiff’s injury. Gill v. Whitford, 138 S.

Ct. 1916, 1934 (2018).

      In this case, the cautions against nationwide injunctions are particularly

weighty, because only a small number of states seek termination of the Rule, and

only one, Texas, even attempted to show harm. And Appellees’ purported harms


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are juxtaposed against a coalition of 14 states—home to 61 percent of all DACA

recipients—who have told the federal government through public comment that the

Rule causes them no harm at all, and in fact provides material benefits. ROA.25805.

If the Court determines that DACA should be enjoined (and it should not), it should

do so on a much narrower basis, and limit the injunction’s application to Texas, the

only state that even attempted to demonstrate an actual injury.

             2.     The district court’s nationwide injunction is inequitable.
      No plaintiff has a right to an equitable remedy. “The effect of equitable

remedies on third parties, not to mention on the courts that must take the time to

supervise them, is the practical reason why there is no ‘right’ to an equitable remedy,

why the plaintiff’s claim to such a remedy may have to yield to competing

considerations.” Avitia v. Metro. Club of Chicago, 49 F.3d 1219, 1231 (7th Cir.

1995). For centuries, the “essence of equity jurisdiction has been the power . . . to

do equity and to mould each decree to the necessities of the particular case.

Flexibility rather than rigidity has distinguished it. The qualities of mercy and

practicality have made equity the instrument for nice adjustment and reconciliation

between the public interest and private needs . . .” Hecht Co. v. Bowles, 321 U.S.

321, 329 (1944).

      In some cases, that flexibility to take into account “mercy and practicality,”

along with considerations of the “public interests and private needs,” requires a court


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to leave unlawful actions unremedied—either to avoid a windfall to the plaintiff, see

Collins v. Lew, 642 F. Supp. 3d 577, 584 (S.D. Tex. 2022); to maintain stability and

trust, see, e.g., Ryder v. United States, 515 U.S. 177, 180 (1995) (de facto officer

doctrine “seeks to protect the public by insuring the orderly functioning of the

government despite technical defects in title to office”); Joseph Eichelberger & Co.

v. Comm’r of Internal Revenue, 88 F.2d 874, 875 (5th Cir. 1937) (allowing unlawful

tax decision to stand because, “[w]hether that decision was right or wrong, the

accredited officer of the United States made it”); or to avoid doing injustice, cf.

Brown v. Allen, 344 U.S. 443, 540 (1953) (Jackson, J., concurring) (“[R]eversal by

a higher court is not proof that justice is thereby better done.”).

      Those principles of equity counsel against a nationwide injunction here. The

Rule is an individualized grant of discretion, which requires an individualized

analysis of the appropriateness of any remedy. The Supreme Court explained this

analysis in Collins v. Yellen, 141 S. Ct. 1761 (2021). There, the Court held that the

Appellees were not entitled to relief if they could not show that, but for an illegal

restriction on the removal of the Federal Housing Finance Agency’s director, the

offending executive action in question would not have occurred. Id. at 1788-89.

Otherwise, the plaintiff would be “put [ ] in a better place than otherwise warranted”

by avoiding an alleged injury that the plaintiff would have suffered no matter what.

Collins, 642 F.Supp.3d at 583-84 (cleaned up). Applying that principle with respect


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to the Rule, Appellees are not entitled to a class-wide remedy. Rather, they must

demonstrate that, in a counterfactual, no-DACA world, each DACA recipient would

not have obtained lawful presence and work authorization by other means that

Appellees do not challenge.

      A counterfactual world without the Memorandum, the Rule, and a decade of

deferred action is difficult to construct. But, for DACA recipients (and especially

the older cohort eligible for DACA under the Rule), the world would not have stood

still. At least some individuals who applied for and received DACA would instead

have received work authorization and lawful presence through other channels, such

as through U Visas, see 8 C.F.R. §§ 274a.12(a)(19)-(20), or an order of supervision,

see 8 C.F.R. § 274a.12(c)(18), and at least some would have instead acquired lawful

permanent residence (which they do not have through DACA), including through

marriage to a United States citizen. See ROA.28756-60. And, as previously

discussed, there is no evidence that DACA recipients would leave, rather than

remain, while returning to live in legal shadows.       Any injuries those DACA

recipients purportedly caused Appellees would have occurred anyway, and thus they

are not the result of the Rule or the Memorandum, but “because they are here.”

ROA.18082 (cleaned up). A nationwide injunction that purports to “remedy”

injuries that DACA and the Rule did not cause thus sweeps far too broadly.

      That is especially true here because of the weighty reliance interests at stake.


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“Since 2012, DACA recipients have ‘enrolled in degree programs, embarked on

careers, started businesses, purchased homes, and even married and had children, all

in reliance’ on the DACA program.” See Regents, 140 S. Ct. at 1914 (cleaned up);

see also Texas (Memo), 549 F. Supp. 3d at 624 (recognizing the “hundreds of

thousands of DACA recipients and others who have relied upon this program for

almost a decade” whose “reliance has not diminished and may, in fact, have

increased over time”). DACA recipients pay taxes, own businesses, work in a

variety of industries, volunteer in their communities, and often advocate for other

vulnerable populations. See, e.g., ROA. 8834-35, 24501, 24506, 24515, 24520,

24537. DACA recipients have built their lives around their presence in the United

States. See ROA.24506 (“DACA has helped me think about the future in a way that

is more expansive.”). DACA recipients have embarked on professional careers in

the United States. See, e.g., ROA.24501 (working as a public interest lawyer

admitted to the State bar of Texas); ROA.24533 (attending law school). And they

are advocates with deep ties to their local communities. ROA.24510 (working as a

grassroots organizer with connections to the community in New York); ROA.24520

(working as community advocate to alleviate social and economic conditions leading

to addiction, crime, violence, and poverty in Los Angeles); ROA.24537 (promoting

civic engagement among Korean Americans).

      As Regents makes clear, the District Court should have taken these reliance


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interests into account. See 140 S. Ct. at 1914. Yet the District Court did not even

consider the other available remedies the Supreme Court noted in Regents, including

granting “a broader renewal period based on the need for DACA recipients to reorder

their affairs,” issuing “more accommodating termination dates for recipients caught

in the middle of a time-bounded commitment, to allow them to, say, graduate from

their course of study, complete their military service, or finish a medical treatment

regimen,” and providing for the “[instruction of] immigration officials to give salient

weight to any reliance interests engendered by DACA when exercising

individualized enforcement discretion.” Id. Those are difficult, weighty questions,

which Regents made clear that DHS, not a court, is best positioned to address. For

that reason, if the Rule were in fact unlawful, the district court should have remanded

to DHS, rather than granting a permanent injunction with nationwide scope. 4

                                   CONCLUSION

      For the foregoing reasons, Intervenor-Appellants respectfully request that this

Court reverse and vacate the District Court’s Order and enter judgment in their favor,



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  If this Court instead decides to affirm the District Court’s remedy, it should, at the
very minimum, also affirm the District Court’s stay of its injunction pending further
proceedings. See Texas (Memo), 50 F.4th at 531 (preserving District Court’s stay of
its injunction of the Memorandum because the “legal questions DACA presents are
serious, both to the parties and to the public,” and because DACA’s termination
would have “profound significance”). That is especially true because the District
Court itself recognized that a final judgment has not yet been entered and that there
are still remaining issues to address. Texas (Rule), 2023 WL 5950808, at *1.
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or in the alternative remand the case to the District Court to resolve pending factual

disputes at trial or to remand DACA to DHS without vacatur.




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                                          Respectfully submitted,


Dated: January 25, 2024
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                        CERTIFICATE OF SERVICE
      I certify that a true and correct copy of the foregoing has been filed

electronically this 25th day of January, 2024, by using the Court’s CM/ECF system.

All parties are represented by registered CM/ECF users and will be served by the

appellate CM/ECF system.


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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief complies with the volume limitation

provided in Fed. R. App. P. 32(a)(7)(B), in that it contains 12,995 words, excluding

parts of the brief exempted under Fed. R. App. P. 32(d), according to the word-count

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App. P. 32(a)(6) because it has been prepared in a proportionally spaced typeface

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 Dated: January 25, 2024                    /s/ Nina Perales
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